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FILED

CHARLOTTE, NC
IN THE COURT OF THE UNITED STATES

WESTERN DISTRICT OF NORTH CAROLINA JAN 26 2024

US DISTRICT COURT
WESTERN DISTRICT OF NG
Plaintiff,

K.L, individually,

and as the legal guardian of A.B. and Z.B
Vv Complaint No. 3°24 -¢V¥~ a4-RIC

Gaston County Schoo! District
for for the Education of Homeless Students,
North Carolina Department of Public Education

REQUEST FOR PRELIMINARY INJUCTION AND RESTRAINING ORDER

i; Plaintiffs K.L.(g), A.B., and Z.B. (collectively, “Plaintiffs”) file this Petition
Pro Se against Defendants Lisa Phillips, State Coordinator for the Education of
Homeless Children and North Carolina Department of Public Instruction and the

Gaston County School District.

INTRODUCTI
Z. This lawsuit seeks to remedy the failure of the education system in North
Carolina and Gaston County School District to provide A.B. and A.B., homeless
children, with the substantive and procedural protections they are entitled to under the
Stewart B. McKinney- Vento Homeless Assistance Act, 42 U.S.C. §§ 11431-11435 (the
“McKinney- Vento Act”) and North Carolina Education Law § 115C-1.
a: The Plaintiffs in this case are K.L.(g) and her homeless children, A.B. and Z.B.

(collectively “Plaintiff Children”), who live in Gaston County.' Defendants have denied

Plaintiff Children enrollment in their schools of origin in violation of the requirements

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of the McKinney-Vento Act, Dispute Resolution Process for Homeless Students
N.C.G.S § 115C-12; 115C- 366, and the promulgated thereunder. The consequence of
the Defendants’ conduct is that homeless children are being turned away at the
schoolhouse door midyear, significantly impacting their educational development and
their opportunity to participate in the decision- making process regarding the provision
of a free and appropriate education. Without relief, Plaintiff Children will be denied the
educational benefits Congress sought to provide children like them in enacting the
McKinney-Vento Act. See 42 U.S.C. § 11431.

2. As set forth more fully herein, Plaintiffs allege that these policies and practices
violate state and federal laws. Plaintiffs therefore seek injunctive relief compelling the
Defendants to maintain Plaintiffs’ enrollment in their schools of origin pending the

outcome of administrative remedies that Plaintiffs are currently pursuing.

JURISDICTI AND VENUE

3. This Court has jurisdiction pursuant to 28 U.S.C. § 1343(a)(3), on the ground that
this action arises under the laws of the United States.

4. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), on the ground
that Defendant Gaston County School District is located in Gaston County, North
Carolina.

a Plaintiffs have been deprived of their federal statutory rights and thus bring this

action pursuant 42 U.S.C. § 1983.

6. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

Plaintiffs’ claims of violations of North Carolina Education Law and the North Carolina

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Constitution, Article [X.

a There is an actual controversy between the Plaintiffs and the Defendants within
the meaning of the Declaratory Judgment Act, 28 U.S.C. § 2201, and Federal Rule of

Civil Procedure Rule 57.

PARTIES

K.L.(g), A.B., and Z.B.

8. K.L.(g) is the legal guardian of A.B. and Z.B., who attends school in Gaston
County School District.

2; Plaintiffs are all citizens of the United States and at all times mentioned herein
were and are living in Gaston County.

Lisa Phillips State Coordinator for the Education of Homeless Children and the

North Carolina Department of Public Instruction

10. Lisa Phillips as State Coordinator for the Education of Homeless Children and the
North Carolina Department of Public Instruction, is the North Carolina state official
responsible for educational matters affecting Gaston County School District and for the
general supervision and management of the Gaston County Public Schools. State
Coordinator Phillips is also officially responsible for ensuring compliance with federal,
state, and local laws governing this system.

LL; State Coordinator Phillips is directly responsible for granting or denying stays of

exclusion from North Carolina public schools pending the outcome of a dispute under the

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McKinney Vento Act.
12. — Lisa Phillips a state officer, was at all relevant times acting or purporting to act

under color of state law.

The School District Defendant

13. | Upon information and belief, Defendants Gaston County School District (the
“District”) is a municipal corporation duly organized and existing under North Carolina
State Education Law and is a Local Educational Agency (“LEA”) under the McK inney-
Vento Act.

14. The District establishes local rules and practices concerning enrollment,

transportation, and education of children within its district, including homeless children.

FACTUAL BACKGROUND
15. Plaintiffs entered into a lease with Progress Residential on October 27, 2021 for a residence
located at 3772 Catawba Creek Drive, Gastonia, North Carolina. The lease stated the residence was
equipped with central air conditioning.
16. However, once warmer weather approached, Plaintiff notified landlord the central air
conditioning was not working. Temperatures inside the house reached 90 degrees. The landlord
failed to repair the central air conditioning as required by North Carolina Landlord and Tenant
Statues until August 10, 2023.
17. Plaintiffs did not have adequate housing from May 2023 until August 10, 2023.
18. On August 16, 2023, the family's electric service was disconnected by Duke Energy of the
Carolina at their rental residence located at 3772 Catawba Creek Drive, Gastonia, North Carolina.

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Plaintiffs were without adequate housing for 10 days when then the electric was reconnected.
19. At the beginning of September 2023, Plaintiff received eviction notice from Progress
Residential.

20. ‘Plaintiff and landlord were able to reach an agreement. Plaintiff was required to

vacate residence at 3772 Catawba Creek Drive by October 10, 2023.
21. Plaintiff was unable to find affordable housing by the October 10, 2023 deadline.
22. Residence was not vacated until October 18, 2023.On October 18, 2023, Plaintiff
moved everything that would fit of their belongings into a U-Haul truck. Any items that
would not fit were either left in the house at 3772 Catawba Creek Drive, put into storage at
the Plaintiffs' mother's apartment or stored in their vehicles.
D3: On or about October 18, 2023, Plaintiffnotified New Hope Elementary School where Z.B.
was in attendance, he would now be a car rider in the afternoons. school secretary, Lori Hammonds
questioned him about his residence.
24. On November 9, 2023, Plaintiff received a text message from Ali Rowe, School ocial
Worker at Cramerton Middle Schoo! where A.B. was in attendance. Plaintiff attempted toc all and
speak with her and explain what the family situation. She was unsuccessful.
25; On November 13, 2023, Plaintiffs went to the Office of Student Assignments and met with
Director Teri Surbeck. Plaintiff was instructed she must contact GCS social workers in order to
discuss school assignment of children. K.L. explained the situation with the previous landlord and
they had stayed with her mother until she had received a lease violation letter from her apartment
manager. Director Surbeck made a comment about the energy drink K.L. was drinking and how it
was expensive and she herself could not afford to buy one.
26. Plaintiff contacted Cramerton Middle School Social Worker Meg Richards. Ms.
Richards told K.L. her homelessness was voluntary because she reached an agreement with the
landlord. K.L. explained to Meg Richards that she is a disabled Veteran and only receives

disability

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income. Plaintiff also explained the landlord - Progress Residential did not intend to renew the lease
which expired on October 27, 2023, with the Plaintiff.

2: On November |, 2023, Plaintiffs obtained housing at 2334 Atticus Ave, Gastonia, North
Carolina. However, the residence is out of budget for K.L. and she is currently at risk of being
evicted. At the time of move-in, it was the only option available with no required deposit that would
provide housing for the family.

28. On or about November 17, 2023, Plaintiffs reached out to SchoolHouse Connection and was
referred toa LEA Justine Bartlett and State Coordinator Lisa Phillips.

29. K.L. spoke to Justine Bartlett and explained they had been served with eviction papers, went
to court, given a move out date, squatted at the residence, doubled up with regular, and adequate
nighttime residence” will be considered homeless. /d. § 11434a(2)(A). Congress specifically studied
the housing arrangements of homeless families and concluded that it was essential to the functioning
of the McKinney-Vento Act that families “doubling up” with others in temporary housing
atrangements must be included within the definition of homeless. Thus, in defining what it means to
“lack a fixed, regular, and adequate nighttime residence,” the McKinney-Vento Act expressly
includes “children and youths who aresharing the housing of other ersons due to lossof housing due
to economic hardship, or a similar reason.” Id. § 1434a (youths.” /d. § 11431(1).

29. The McKinney-Vento Act also mandates that if the State enacts “regulations,
practices, or policies that may act as a barrier to the enrollment, attendance, or success in
school of homeless children and youths,” it must “review and undertake steps to revise such
laws, regulations, practices, or policies to ensure that homeless children and youths are
afforded the same free, appropriate public education as provided to other children and
youths.” /d. § 11431(2). The McKinney-Vento Actimposes the same obligations on LEAs. Jd. §

11432(g)(7).

30. | The McKinney-Vento Act specifically requires that States ensure that the LEAs

provide an expeditious process of resolving disputes affecting the educational rights of

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homeless children. /d. § 11432(g)(3)(E)(iii).
31. Moreover, the McKinney-Vento Act states that if a dispute arises over school
enrollment, the homeless student “sha// be immediately admitted to the school in which
enrollment is sought, pending resolution of the dispute.” /d. § 11432(g)(3)(E)(i) (emphasis
added).
32. The McKinney-Vento Act requires that “[e]ach State educational agency shall
ensure that each child of a homeless individual and each homeless youth has equal access to
the same free, appropriate public education . . . as provided to other children and youths.” 42
U.S.C.§ 11431(1).
33. | The McKinney-Vento Act also mandates that if the State enacts “regulations,
practices, or policies that may act as a barrier to the enrollment, attendance, or success in
school of homeless children and youths,” it must “review and undertake steps to revise such
laws, regulations, practices, or policies to ensure that homeless children and youths are
afforded the same free, appropriate public education as provided to other children and
youths.” Id. § 11431(2).
North Carolina General and Uniform System of Schools § 1151C-1

34. North Carolina Genera and Uniform System of Schools § 1151C-1 requires the
Defendants to provide for the education of homeless children in North Carolina, Pursuant
to statutory authority, North Carolina enacted regulations which provide for the education
of children in North Carolina. The North Carolina Homeless Education Program is

dedicated to ensuring all children and youth experiencing homelessness have
access to the public education to which they are entitled under the McKinney-Vento Act.
However, Lisa Phillips is the state official over the program.

35. Lisa Phillips has blocked A.B. and Z.B. from attending their school of origin and

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McKinney-Vento protections. Defendant Lisa Phillips s State Coordinator for the
Education of Homeless Children, North Carolina Department of Public Instruction, is
responsible for enforcing these regulations.

36. North Carolina Homeless Education Program and McKinney Vento U.S.C. §
1143-1 mandates that a homeless child’s family or an unaccompanied youth may choose
whether the child will attend school where the Ofamily or child lived before becoming
homeless (the “school district of origin”) or where he or she currently lives (the “school
district of current location”), and that the school district must immediately admit and

enroll the homeless child

The Defendants’ Duties Under Federal and State Law

37. | Under the aforementioned laws, Lisa Phillips is obligated, in relevant part, to
undertake, supervise, or ensure the State’s compliance with the following: prepare and carry
out an adequate state plan for implementing the McKinney- Vento Act and ensure the
LEAs’ compliance with the plan; ensure that the local social service agency complies with
the provisions of North Carolina Homeless Education Program and its regulations in
providing education and transportation services to homeless children and youth; review and
revise policies that may act as barriers to and provide services that enable the enrollment,
attendance, and success in school of each homeless child in North Carolina, including
policies related to transportation, records requirements, and residency requirements; provide
procedures for the prompt resolution of placement and transportation assistance disputes
affecting homeless children in North Carolina; identify and address problems affecting the
education of homeless children in North Carolina; ensure that policies and practices are

adopted by the State and LEAs to ensure that homeless children in North Carolina are not

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stigmatized or isolated; ensure that the LEAs provide written notice to homeless school-age
children and the parents or legal guardians of such children of any adverse action affecting
their placement in schools, a fair opportunity to challenge such decisions, including the
notice of the availability of an ombudsperson, and a process of resolving the dispute; ensure
the LEAs’ compliance with state law and regulations; ensure that the LEAs locate and
provide educational services to all eligible children in North Carolina; ensure that homeless
youths and youths separated from the public schools are identified and accorded equal
access to appropriate secondary education and support services; and identify homeless

children and youth and assess their special needs.

38. | Under the same laws discussed above, the School District Defendants are obligated to:
make available to each homeless child and family who seeks to enroll (or continue the child)
in school the designation form provided by the liaison; review the designation form to assure
that it has been completed; where the school district of origin is designated, the child shall be
entitled to retum to the school building where previously enrolled; where the school district is
the school district of current location, (1) the child shall be admitted to the school, (2) the
homeless child shall be treated as a resident for all purposes, and (3) the LEA must make a
written request to the schoo! district where the child’s records are located for a copy of such
records and forward the designation form to the commissioner and the school district of origin
if applicable; where a homeless child is not entitled to receive transportation pursuant to (4)
from the Department of Social Services or from the Division for Youth, the child shall be
transported by the designated school district; establish policies and procedures to ensure
compliance with the provisions of North Carolina Homeless Education Program and its
regulations, and review and revise any local regulations, policies, or practices that may act as
barriers to the enrollment or attendance of homeless children in school or their receipt of

comparable services as defined in Part B of Title VII of the McKinney-Vento Act; and

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Defendants’ Violations of Their Statutory and Other Duties

39. Defendants have failed to revise their policies and practices, which create a
barrier to the enrollment, attendance, and success of homeless youths, and have failed
to ensure that LEAs revise their policies and practices regarding education of homeless
children.

40. Defendants do not have a stay procedure whereby homeless children such as
Plaintiffs may be allowed to attend their schools of origin pending the final outcome of
dispute resolution.

41. Denial of stay disrupts a child’s education because if the final appeal is
successful, a child will be asked to return to the school of origin months later. This

essentially moots the appeal process.

42. Justine Bartlett, Homeless Laison, Gaston County School District, failed to
provide services as outlined in the LEA Liaison duties and responsibilities. Best
practices including a housing questionnaire and additional investigation was not conducted.

Breakdowns in the outlined support occurred throughout the process.

43. Defendants have refused to recognize that Plaintiffs became homeless; that is, lacking “a

fixed, regular, and adequate nighttime residence.”

44. Defendants have refused to allow Plaintiffs to remain enrolled in their schools of origin.

45, Defendants have refused Plaintiffs’ stay request pending the outcome of Plaintiffs’ appeal.

46. Defendants have refused to allow Plaintiffs to submit a hardship transfer.

47. Defendents have refused to allow Plaintiffs to submit an extenuating circumstance

transfer as outlined in the Student Assignments Policy, Gaston County Schools, Gaston

County School Board Policy.

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48. Defendants have refused or failed to provide Plaintiffs their full rights and

entitlements the law.

Injury to Plaintiffs

49, As set forth above, as a result of Defendants’ policies and practice, Plaintiffs have

suffered and continue to suffer irreparable harm.
50. Plaintiff Children A.B. and Z.B. are denied protection under the McKinney-

Vento Act them to continued enroliment in the schools of their origin andare being forced to be out

of school temporarily midway through the school year.

51. Plaintiff Child A.B. was removed from her middie school cheer team.
52. Additionally, Teri Surbeck, Director, Student Assignments K.L. as well as forcing

enrollment of Plaintiff Child Z.B. to remove him from his school of origin.

53. Plaintiffs’ have been victims of harassment since notifying Plaintiff child Z.B.’s school of

origin he would be a car rider from October 2023 to approximately January 2024.

54. Plaintiffs’ injuries result from Defendants’ failureto comply with the McKinney- Vento Act.
ae, Plaintiffs have no adequate remedy at law.
56. Office of Student Assignments, Gaston County Schoo! District, Teri Surbeck has forced

removal of A.B. and Z.B from their school or original while Plaintiff K.L. appeals to this court.

CAUSES OF ACTION

COUNT 1

VIOLATIONS OF THE MCKINNEY-VENTO ACT

57. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the foregoing

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paragraphs set forth above.

58. The processes established under NCHEP, and enforced by State Coordinator Phillips which
lack a stay while pursuing an appeal and for seeking to keep children such as A.B. and Z.B. are
unnecessarily cumbersome and cannot reasonably be complied with by homeless families such as
Plaintiffs.

59, In addition, on information and belief, and under State Coordinator Phillips authority,
NCHEP as distributed to districts throughout the State, such as Gaston County School District,
incorrect information about the federal definition of homelessness under the McKinney-Vento Act
and their dutiesto immediately enroll homeless students and maintain their enrollment throughout
the duration of any dispute process. As a result, homeless liaisons that the school districts are
required to employ to assist homeless families such as the Plaintiff family have been unable to

provide those families the assistance and direction the law requires.

60. By allowing no stay of the disenrollment order, appeals process imposes special
burdens on such families. Most families proceed through the appeals process pro se, but
their petitions are contested by lawyers suggesting evidentiary burdens, akin to those in
seeking temporary injunctions, State Coordinator Phillips accepts, promulgates, and uses to
deny enrollment to homeless students pending the final resolution of their appeals. In fact,
the issue of a stay should never be raised, as the students are entitled to enrollment
throughout the dispute resolution process.

61. Because they will be denied the opportunity to keep their children in the school of
their choice pending an appeal, those families are essentially forced to acquiesce in the
decision of the school districts to terminate enrollment. The alternative—to permit
successive disruptions of a homeless child’s education—is unacceptable to the
overwhelming majority of homeless families. Without relief with respect to the stay

decision—which is effectively dispositive here— Plaintiffs will effectively be denied an

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appeal.

62. Defendants have failed to address the impediments to enrollment caused by residency and
record requirements in violation of 42 U.S.C. § 11432(g)(1)(P), have failed to develop, “review,
[and] revise policies to remove the barriers to the enrollment and retention of homeless children and
youth” in violation of 42 U.S.C. § 11432(g)(1)(D, and have failed to ensure homeless students’ right
to be “immediately admitted to the school in which enrollment is sought, pending resolution of the
dispute” in violation of 42 U.S.C. § 11432(g)(3)(E)\Q).

63. Defendants have failed to “review and revise any policies that may act as barriers to the
enrollment of homeless children and youth in schools,” as required under 42 U.S.C. § 11432(g)(6)
and (9).

64. Defendants have violated the rights of the Plaintiffs under the McKinney-Vento Act, 42

U.S.C. §§ 11431-11435.

COUNT If

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VIOLATIONS OF THE NORTH CAROILNA HOMELESS

EDUCAITONPROGRAM

65. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the foregomg
themselves to do so (taking numerous overt steps in furtherance thereof), and failed to prevent one
another from doing so.

66. Plaintiffs constitute homeless children as defined in North Carolina State Board of
Education § 16 NCAC 06H.0114 Dispute Resolution Process for Homeless Students — Definitions,
as they lack a “fixed, regular, and adequate nighttime residence.”

67. Plaintiffs have been denied the right to attend a public school in the “school district of

origin” as that term is defined in Dispute Resolution Process N.C.G.S.§ 115C-12 definitions.
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COUNT Il

VIOLATIONS OF 42 U.S.C. § 1983

68. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the
foregoing paragraphs set forth above.

69. By implementing and authorizing the policies and practices pursuant to which
Plaintiffs are denied access to public education in the District, Defendants have deprived, and
will continue to deprive, Plaintiffs of rights, remedies, privileges, and immunities guaranteed
to every citizen of the United States in violation of 42U.S.C. § 1983 and of rights guaranteed
by the Fourteenth Amendment of the United States Constitution, Article IX § 1 of the North
Carolina Constitution and the McKinney-Vento Act, 42 U.S.C. §§ 11431-11435, and Dispute
Resolution Process for Homeless Students § G.S. 115C-12; 115C-366 and the regulations

promulgated thereunder.

70. All Defendants have acted under pretense and color of state law and in their individual
and official capacities and within the scope of their employment. Defendants’ acts described
herein were beyond thescope of their jurisdiction, without authority of law, and in abuse of
their powers, and said Defendants acted willfully, knowingly, and with the specific intent to
deprive Plaintiffs of their constitutional rights secured by 42 U.S.C. § 1983 and by the Fourth,
Fifth, and Fourteenth Amendments to the United States Constitution. Defendants have

conspired amongst themselves.

APPLICATION FOR TEMPORARY RESTRAINING ORDER
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70. Plaintiffs hereby repeat and incorporate by reference each of the allegations in
the foregoing paragraphs set forth above.

71. K.L.(g), A.B., and Z.B. seek a temporary restraining order to prohibit
Defendants from dis- enrolling Plaintiffs in their schools of origin, permitting them to
attend school in the District pending full resolution of this dispute in accordance with
the pendency provision of the MEKitiny-Vento Act as set — in 42 U.S.C. §
11432(g)(3)(E)(), and to provide Plaintiffs with timely school hee ‘os-other safe and
adequate transportation to their schools of origin for so long as they continue to be

homeless as defined in the McKinney-Vento Act.

REQUEST FOR PRELIMINARY INJUNCTION

72. Plaintiffs hereby repeat and incorporate by reference each of the allegations in the
foregoing paragraphs set forth above.

73. K.L.(g), A.B., and Z.B. seek a preliminary injunction to prohibit Defendants
from dis-enrolling Plaintiffs in their schools of origin, permitting them to attend
school in the District pending full resolution of this dispute in accordance with the
pendency provision of the McKinney- Vento Act as set forth in 42 U.S.C. §
11432(g)(3)(E)Q), and to provide Plaintiffs with timely school bus or other safe and
adequate transportation to their schools of origin for so long as they continue to be

homeless as defined in the McKinney-Vento Act.

REQUEST FOR PERMANENT INJUNCTION

74. Plaintiffs hereby repeat and incorporate by reference each of the allegations
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in the foregoing paragraphs set forth above.
75. K.L.(g), A.B., and Z.B. seek a permanent injunction mandating Defendants’

compliance with the McKinney-Vento and NC Homeless Education Plan

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, individually and on behalf of all persons

similarly situated, pray that this Court:

A. Immediately grant a temporary restraining order and
preliminary injunction compelling the Defendants to maintain Plaintiffs’
enrollment in their schools of origin, reinstate Plaintiff child A.B. in school
activities (cheerleading) and provide Plaintiffs with transportation to and from
their schools of origin; Remove absences from A.B and Z.B.’s record for time

‘related to McKinney-Vento and

B. Appoint Plaintiff an attorney at Defendants expense;
C. Grant a permanent injunction against Defendants;
“— Award such other and further relief as the Court may deem
appropriate
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CERTIFICATE OF SERVICE

I hereby certify that I have this date caused to be forwarded via email filing, a copy of the
following document: Plaintiffs’ First Verified Petition, to:

Lisa Phillips State Coordinator for the Education
of Homeless Students, North Carolina
Department of Public Instruction

VIA EMAIL @ lisa.phillips@dpi,nc.
Gaston County School District
Marty Starnes, Atorney

Gaston County School Board Attorney
VIA EMAIL @ mbstarnes@gaston.k12.nc.us

Dated and Signed: _
HOD eu] oy

2334 KtHicus Ave
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